Case 21-30085-hdh11 Doc 227 Filed 02/24/21                  Entered 02/24/21 08:15:32            Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                             §                CHAPTER 11
                                                   §
NATIONAL RIFLE ASSOCIATION                         §                CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC                        §
                                                   §
        DEBTORS1                                   §                JOINTLY ADMINISTERED




    DECLARATION OF JOHN C. FRAZER IN SUPPORT OF MMP’S MOTION FOR AN
    ORDER REQUIRING THE UNITED STATES TRUSTEE TO RECONSTITUTE THE
             OFFICIAL COMMITTEE OF UNSECURED CREDITORS

     I, John C. Frazer, pursuant to 28 U.S.C. § 1746, state:

        1.       I am the Secretary and General Counsel of the National Rifle Association of

America (the “NRA”). I have held the position of General Counsel since January 2015, and have

been elected annually by the NRA Board of Directors to the position of Secretary since April 2015.

Unless otherwise noted, I have personal knowledge of the matters stated herein.

        2.       On August 6, 2019, David Dell’Aquila (“Dell’Aquila”) filed a putative class action

against the NRA in the United States District Court for the Middle District of Tennessee.2

        3.       Dell’Aquila’s subsequently filed Second Amended Complaint asserted eight claims

against three defendants, including the NRA, the National Rifle Association Foundation

(“NRAF”), and Wayne LaPierre. However, on September 30, 2020, except for Dell’Aquila’s fraud

claim against the NRA, the Court dismissed each of Dell’Aquila’s claims for various pleading

deficiencies. The claims the court dismissed include: (i) a claim for fraud against the NRAF; (ii)


1
  The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
2
  Dell’Aquila v. NRA, Case No. 3-19-0679 (M.D. Tenn.).


DECLARATION OF JOHN C. FRAZER - Page 1
Case 21-30085-hdh11 Doc 227 Filed 02/24/21             Entered 02/24/21 08:15:32      Page 2 of 2




two claims for fraud against Wayne LaPierre; (iii) a claim against the NRAF for violation of RICO;

(iv) two claims against Wayne LaPierre for violation of RICO; and (v) a claim against the NRA

for violation of RICO.

       4.      Dell’Aquila asserted that on the account of the one remaining claim, he seeks

approximately $60,902 in damages from the NRA. The NRA filed an answer to his remaining

claim. In its answer, the NRA contests his allegations and all liability.

       5.      Eighteen months after Dell’Aquila filed this action, neither he nor three other

putative class representatives have moved for class certification.


       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.



       Dated: February 23, 2021




                                              s/ John C. Frazer
                                              John C. Frazer




DECLARATION OF JOHN C. FRAZER - Page 2
